                   IN THE UNITED STATES DISTRICT COURT
                FOR THE EASTERN DISTRICT OF PENNSYLVANIA

 CRAWL SPACE DOOR SYSTEM, INC.                :
                                              :
      v.                                      :      CIVIL ACTION NO. 22-4698
                                              :
 WHITE & WILLIAMS, LLP                        :

                                          ORDER

      This 22nd day of June, 2023, for the reasons set forth in the accompanying memorandum,

it is hereby ORDERED that Defendant’s Motion to Dismiss, ECF 27, is GRANTED. Plaintiff’s

claim is DISMISSED with prejudice.

      The Clerk of Court shall mark this case CLOSED for statistical purposes.




                                                    /s/ Gerald Austin McHugh
                                                   United States District Judge
